                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                            CASE NO. 3:24-CV-881-FDW-DCK

 HUBERT STUMP,                                            )
                                                          )
                   Plaintiff,                             )               ORDER
                                                          )
     v.                                                   )
                                                          )
 PREMIER HEALTHCARE SOLUTIONS, INC.,                      )
 UOFL HEALTH, INC., and                                   )
 UOFL HEALTH-LOUISVILLE, INC.,                            )
                                                          )
                   Defendants.                            )
                                                          )

          THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 11) filed by Local Counsel John Michael (“J.M.”) Durnovich

on November 5, 2024.

          Applicant Aaron W. Marcus seeks to appear as counsel pro hac vice for Defendants UofL

Health, Inc. and UofL Health-Louisville, Inc. Upon review and consideration of the motion, which

was accompanied by submission of the necessary fee and information, the Court will grant the

motion.

          IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 11) is GRANTED. Aaron W. Marcus

is hereby admitted pro hac vice to represent Defendants UofL Health, Inc. and UofL Health-

Louisville, Inc.
                                   Signed: November 5, 2024
          SO ORDERED.




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